an Case 3:13-cv-04405-G-BN Document.16. Filed 01/07/14 Pagelof2 PagelD 46

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS

Joe Hunsinger

Plaintiff Pro-Se’ Case No: 3-13-CV-4405-G~§N

V.
AMERICAN CORADIUS INTERNATIONAL, LLC

- NOTICE OF SETTLEMENT

COMES NOW the Plaintiff, hereby states as follows:
1. The Plaintiff and the Defendant American Coradius International, LLC.
have reached a settlement.
2. The Parties will be filing an Order of Dismissal with Prejudice once the
settlement terms have been completed by the Parties. The Parties expect
this to happen by January 31, 2014.

Respectfully submitted January 4 , 2014. _
Joe Hunsifigér _
7216 C.F. Hawn Frwy.
Dallas, Texas 75217

Joe75217@gmail.com
214-682-7677

CERTIFICATE OF SERVICE
Thereby certify that a copy of the forgoing has been served upon the Defendants attorney via

regular mail on January 4 , 2014
c_) WV

 

 

 

Joe Hungihger
U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS 7216 C.F. Hawn Frwy.
FILED Dallas, Texas 75217
Joe75217@gmail.com

214-682-7677
JAN ~ 7 2014

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- By
Deputy

 

 

 

 

 

 
 

 

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